                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 PEARL DUNLAP, as personal
 representative of the estate of
 JESSE P. DUNLAP,                                           Case Number 18-00278
                                                            Honorable David M. Lawson
               Plaintiff,
 v.

 SEVIER COUNTY, RONALD L. SEALS,
 LARRY MCMAHAN, IAN MORLEAN,
 KYLE MILLER, DAVID BUCHAN,
 JOEY LEONARD, MALCOLM
 BRANDRIFF, QCHC, INC. a/k/a QUALITY
 CORRECTIONAL HEALTHCARE,
 RACHEL PARTON, and RICKY NEICE,

               Defendants.
                                             /

                                          JUDGMENT

        In accordance with the opinion and order entered on this date,

        It is ORDERED AND ADJUDGED that the complaint is DISMISSED WITHOUT

 PREJUDICE as to defendants QCHC, Inc. a/k/a Quality Correctional Healthcare, Rachel Parton,

 and Ricky Neice ONLY.

        It is further ORDERED AND ADJUDGED that the complaint is DISMISSED WITH

 PREJUDICE as to defendants Sevier County, Ronald L. Seals, Larry McMahan, Ian Morlean,

 Kyle Miller, David Buchan, Joey Leonard, and Malcolm Brandiff.

                                                            s/David M. Lawson
                                                            DAVID M. LAWSON
                                                            United States District Judge
                                                            Sitting by special designation

 Date: September 17, 2020




Case 3:18-cv-00278-DML-DCP Document 60 Filed 09/17/20 Page 1 of 1 PageID #: 484
